           Case 1:18-vv-01543-UNJ Document 50 Filed 10/20/20 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1543V
                                        (not to be published)


    HEATHER MASSEY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: September 17, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Theodore J. Hong, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On October 5, 2018, Heather Massey (“Petitioner”), filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration as a result of an influenza vaccination
administered on October 18, 2016. (Petition at 1). On July 10, 2020, a decision was issued
awarding compensation to Petitioner based on the parties’ stipulation. (ECF No. 39).



1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:18-vv-01543-UNJ Document 50 Filed 10/20/20 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, dated August 7,
2020 (ECF No. 43), requesting a total award of $32,148.24 (representing $31,530.40 in
fees and $617.84 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. (ECF No. 43-
3). Respondent reacted to the motion on August 24, 2020, indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to my discretion to determine the amount to be awarded (ECF No. 45).
Petitioner filed a reply requesting that the court award Petitioner all fees and costs
requested in Petitioner’s application. (ECF No. 46).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $32,148.24 (representing $31,530.40 in fees and $617.84 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. Per
Petitioner’s request, the check should be forwarded to Maglio, Christopher & Toale,
PA, 1605 Main Street, Suite 710, Sarasota Florida 34236. In the absence of a timely-
filed motion for review (see Appendix B to the Rules of the Court), the Clerk shall enter
judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
